                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

ANGELA STEWART,                                   )
                                                  )
       Plaintiffs,                                )
                                                  )
v.                                                )      Civil No. 3:20-cv-00679
                                                  )      Judge Trauger
C.R. BARD, INC., ET AL.,                          )
                                                  )
       Defendant.                                 )


                                          ORDER

       The Consent Motion for Extension of Time to File a Responsive Pleading (Docket No.

14) is hereby GRANTED, and the defendant may have an extension until October 8, 2020 within

which to respond to the Complaint.

       It is further ORDERED that the initial case management conference scheduled for

October 5, 2020 is RESET for October 19, 2020 at 3:00 p.m.

       It is so ORDERED.



                                                  ___________________________________________
                                                  ALETA A. TRAUGER
                                                  U.S. District Judge




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